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iN THE UNiTED STATES D|STR|CT COURT F"‘ED `?N ~/Y` 931
FOR Tl-|E VVESTERN D|STR|CT OF TENNESSEE 05 f
WEsTERN DivisloN ‘ m 25 PH 1636
777)77 se
UNiTED STATES OF AMER|CA * CLEHK' U`S': ` 1de
’ Wij 575 ?. , 7.-_‘7_.."7{:[);"7§3
P|aintiff, *
vs. * Crimina| No. 04-20071-|3 P
STEVEN F. BAKER, *
Defendant. *

 

PREL|N|INARY ORDER OF FORFE|TURE

 

|n indictment Number 04-20071-B P, the United States sought forfeiture of specific
property of defendant Steven F. Baker, pursuant to 18 U.S.C. § 2252. On Apri| 26, 2004,
Steven F. Baker, entered a plea of guilty to Counts 1 - 3 and the forfeiture in Count 4 ofthe
indictment
According|y, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 - 3 and the forfeiture
in Count 4 of the indictment Number 04-20071-|3 P, the United States is authorized to
seize the following property belonging to defendant Steven F. Baker, and his interest in it
is hereby forfeited to the United States for disposition in accordance With the lawl subject
to the provisions 0f21 U.S.C. §853(n) and Ruie 32(d)(2) of the Federa| Ru|es of Criminai
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United
States Code, and any book, magazine, periodicai, firm, videotape, and other matter Which

contains any such visual depiction, Which Was produced, transported, mailed, shipped, or

Thls document entered on the docket sheet in compliance
With aui@ 55 and/or 32(b) rach on ’.3» »

    

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received in violation of the above said statute;

b. Any property1 real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Compaq Presario 1500
computer, s/n 9)<2AKQFZG1TS;

2. One (1) Bus|ink USB External hard
drive, s/n 3623.

All pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States l\/larsha| in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States l\/larshal shall publish at
least once a Week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose ofthe property in such manner as the Attorney Genera| or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days ofthe final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity ofthe

petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty

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of perjury, and shall set forth the nature and extent of the petitioners right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States l\/larshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Pre|iminary Order of Forfeiture, as a substitute for published notice as to those persons so
noUHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forteiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. lf no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

rT is so oRDERED this A,§$\ dany A-\~§»Ufw ,2005.

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.D NiEL BREEN \
nit d States District Judge

 

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PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

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lSTOPHER E. COTTEN
ssi istant United States Attorney

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR!CT OF TENNESSEE
WESTERN DlVIS|ON

UNlTED STATES OF Al\/lER|CA, *

Plaintiff, *
vs. * Criminal No. O4-20071-B P
STEVEN F. BAKER, *

Defendant. *

 

LEGAL NOTICE

 

Tai<e notice that on , the United States District Court for the
Western District of Tennessee, Western Division, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant Steven F. Baker in the following
property be forfeited to the United States to be disposed of in accordance with |aw:

a_ Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodica|, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Compaq Presario 1500
computer, s/n 9x2AKQFZG1TS;

2. One (1) Bus|ink USB External hard
drive, s/n 3623.

All pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
General or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought

UNITED s`T"ATEDISTRIC COUR - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 26 in
case 2:04-CR-20071 Was distributed by faX, rnail, or direct printing on
August 26, 2005 to the parties listed.

 

 

J eff A. Crovv

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

